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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

MICHAEL HYATT                                        )   CIVIL ACTION NO.: 2:22-cv-04004
                                                     )
VERSUS                                               )   JUDGE ELDON E. FALLON
                                                     )
ABR LOGISTICS, LLC., THOMAS JOHNSON,                 )   MAGISTRATE KAREN W. ROBY
AND QBE UK LIMITED                                   )


                                NOTICE OF SUBMISSION

        Third-Party Defendant, Alabama Shipyard, LLC (“ASY”) through undersigned counsel,

gives notice in accordance with Local Rule 7.2 that its Motion for Summary Judgment will be

submitted to the Court for decision on November 29, 2023, before the Honorable Eldon E. Fallon

or as this Court may otherwise deem appropriate.


                                           Respectfully submitted,




                                           /s/ Grady S. Hurley
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                                           Attorney for Defendants, Alabama Shipyard LLC.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on October 24, 2023, a copy of the foregoing has been forwarded to

all parties and counsel of record via the Court’s E-filing system, U.S. Mail, email, and/or facsimile.


                                               /s/ Grady S. Hurley
                                               GRADY S. HURLEY




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